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                             UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA



 ORCUN SELCUK et al.,

 Plaintiffs,                                    CASE NO. 4:24-cv-390

         v.

 PAUL D. PATE et al.,                               DECLARATION OF ZYDRUNE
                                                      DIDVYZYTE-MORGAN
 Defendants.
 Zydrune Didvyzyte-Morgan


I, Zydrune Didvyzyte-Morgan, declare as follows:

   1. The facts contained in this declaration are known personally to me and, if called as a

        witness, I could and would testify competently thereto under oath.

   2.   I am an eligible and registered voter in Keokuk, Iowa, which is located in Lee County.

   3.   I am a naturalized United States Citizen.

   4.   I moved to the United States in July 2009, from Lithuania, where I was born and resided

        until that time.

   5.   I became a United States Citizen on May 26, 2022.

   6.   I have previously voted in one local election with no issues or challenges.

   7. On November 5, 2024 I went to vote at my local polling place, the Keokuk Community

        School District Business Office.

   8. When I went to vote, they scanned my driver’s license and told me that I could not vote

        because of a challenge to my citizenship.
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   9. I tried to provide my passport as proof of citizenship to vote. But I was told my ballot

      would be counted provisionally and I need to take proof of citizenship to the Lee County

      Auditor’s Office, which is thirty minutes from where I reside.

   10. I took the documents to the Lee County Auditor’s Office over my lunch around 1 pm. I

      spoke with the Auditor. She took a copy of my naturalization certificate.

   11. I asked her why I was not able to vote at my polling place after showing my passport.

      The Auditor told me that I should have been able to vote with my passport.

   12. I spent the day jumping through hoops to ensure that my vote was counted and I was

      repeatedly given conflicting information.

   13. I just called the Lee County Auditor and was told that my vote has been cast as a regular

      ballot today. I am still concerned whether my ballot will be correctly counted and for

      those people that don’t have the time or resources to jump through the hoops to ensure

      that their vote is counted.

   14. I obtained my current, valid Iowa driver’s license while I was still an LPR (“Lawful

      Permanent Resident”), on December 19, 2020. My license does not expire until

      December 14, 2028.

   15. In accordance with 28 U.S.C. § 1746 and under penalty of perjury, I swear that the

      foregoing is true and correct.

Executed on November 5, 2024 in Keokuk, Iowa.



                                                    _______________________________
                                                     Zydrune Didvyzyte-Morgan
                                                    Zydrune Didvyzyte-Morgan
